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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

                                               )
 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )
                                               )       Criminal No. 23-cr-10005-DJC
 XIAOLEI WU,                                   )
                                               )
              Defendant.                       )
                                               )


                                  JOINT STATUS MEMORANDUM

             The United States of America, with the assent of the defendant, hereby submits this

memorandum addressing Local Rule 116.5(c). The parties have reviewed this memorandum and

agree to its contents.

             On July 27, 2023, the District Court held an Initial Pretrial Conference in the above-

captioned matter, and, among other things, set a trial date for January 22, 2024. As a result, the

parties respectfully ask that the August 3, 2023 final status conference be cancelled.

      I.        Production of Discovery and Timing of Additional Discovery to be Produced.

             The government has produced automatic discovery to the defendant. The government will

provide discovery in response to any future request(s) according to the Local Rules and the Federal

Rules of Criminal Procedure, including any supplemental discovery if additional materials are

obtained.

      II.       Timing of Additional Discovery Requests.

             There are no outstanding requests or motions for discovery.

      III.      Pretrial Motions Under FRCP 12(b).

             No motions have been filed under Fed. R. Crim P. 12(b).
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   IV.       Speedy Trial Calculations.

         The parties agree that the time between August 3, 2023 and the trial date of January 22,

2024, should be excluded in the interests of justice. To that end, on July 27, 2023, the government

filed with the District Court an assented-to motion for excludable delay from August 3, 2023 to

January 22, 2024.

   V.        Length of Trial.

         At the Initial Pretrial Conference, the parties estimated four to five days for trial.



                                                         Respectfully submitted,

                                                         JOSHUA S. LEVY
                                                         Acting United States Attorney


                                                 By:     /s/ Timothy H. Kistner
                                                         Timothy Kistner
                                                         Assistant U.S. Attorney

Dated: August 1, 2023




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                                CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and that paper copies will be sent to those indicated as non-registered participants on this date.

                                                     /s/ Timothy H. Kistner
                                                     Timothy H. Kistner
                                                     Assistant U.S. Attorneys




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